Case 2:04-cr-20177-.]DB Document 100 Filed 08/17/05 Page 1 of 2 Page|D 82

IN THE UNlTED sTATEs DISTRICT CoURT Fu.ao ar §§ wl
FoR THE WESTERN DISTRICT 0F TENNESSEE `"'"“
WESTERN DIVISION 05 AUG l'l PH 2= 5|
UNITED sTATEs oF AMERICA, mo M] M G:~. .B ‘
CLEBK. U.S ""`T"`TCOURT
Piatntiff, 999 »» watts
v_ No. 04»20177-13/1>

LARRY BULLOCK,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff’s Motion to Amend Conditions of Release filed on August
8, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the

objections

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IT ls so oRDERED this /'I"‘ day cf August, 2005.

 

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DANIEL BREEN \
ITE sTATEs DISTRICT JUDGE

 

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UNITED sTEATS DISTRIC COURT - WESTRNE DISITRCT 0 TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 100 in
case 2:04-CR-20177 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

J ames R. Garts

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

Memphis7 TN 38103

Kevin P. Whitmore

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

J ames D. Wilson

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

Memphis7 TN 38103

Lee Wilson

WILSON & WRIGHT
50 N. Front St.

Ste. 640

Memphis7 TN 38103

Jim B. Johnson

LAW OFFICE OF .T[M B. JOHNSON
253 Adams Ave.

Memphis7 TN 38103

Harold D. Archibald
ARCH[BALD & HALMON
22 North Front Street

Ste. 790

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

